                          UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DMSION
                                   7:23-mc-20-FL




 In re. Enforcement of
 Subpoena to New
 Hanover County
 Sheriff




                      ORDER COMPELLING RELEASE OF NEW
                 HANOVER COUNTY SHERIFF DEPARTMENT'S RECORDS

        Upon consideration and for good cause, it is hereby ORDERED that the New Hanover

County Sheriff Department shall produce copies ofany material responsive to the Subpoena served

by BMW ofNorth America, LLC related to the above-captioned action within 21 days of the entry

of this order.

        Entered this 29th day of December, 2023.




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             Case 7:23-mc-00020-FL Document 3 Filed 12/29/23 Page 1 of 1
